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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                              CASE NO. 1:88-cr-01007-MP-AK

WILLIE BUD REED, JR,

       Defendant.

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                                            ORDER

       This matter is before the Court on Doc. 1305, Motion for Reconsideration/Motion to

Revisit regarding the November 10, 2009 Order on Motion for Reconsideration by Willie Bud

Reed, Jr. Doc. 1304. Mr. Reed disagrees with this Court’s interpretation of the Rule of Lenity,

and alleges errors in law with respect to that rule’s application. Having thoroughly considered

his arguments, this Court is not persuaded to alter any of its analysis or conclusions.

Accordingly, this motion is DENIED.


       DONE AND ORDERED this             20th day of November, 2009


                                       s/Maurice M. Paul
                                  Maurice M. Paul, Senior District Judge
